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                                         No. l6-01230
                                   (Filed: October 1 4, 2016)                 FILED
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 KEITH RUSSELL JUDD,                                                       U.S. COURT OF
                                                                          FEDERAL CLAIMS
                      Plaintiff,



 THE UNITED STATES,

                      Defendant.


                                   OPINION AND ORDER

CAMPBELL-SMITH, Chief Judge

        On September 26,2016, plaintiff Keith Russell Judd (plaintiff or Mr. Judd) filed a
cornplaint in the United States Court of Federal Claims (Court of Federal Claims) to
recover monies collected by the Internal Revenue Service (IRS) for the 2015 tax year.
Plaintiff alleges that the IRS exceeded its authority when it "charged, collected and
retained S400.00" from him "as a penalty for not purchasing [h]ealth [i]nsurance" under
the Patient Protection and Affordable Care Act (Affordable Care Act), 26 U.S.C. $
5000A (2010). Compl. 1, 3. Plaintiff characterizes the penalty as an illegal exaction in
violation of the Fifth and Tenth Amendments of the United States Constitution, and seeks
a refund of $400.00. See Compl. at 1, 5-6. For the reasons more fully explained below,
plaintiff s complaint is dismissed for lack ofjurisdiction. See Rules of the United States
Court of Federal Claims (RCFC) l2(bXl).

L      Legal Standards

      A.      The Tucker Act

        The Court of Federal Claims is a court of limited jurisdiction. Jentoft v. United
States, 450 F .3d 1342, 1349 (Fed. Cir. 2006) (citing United States v. King, 395 U.S. l,         3
(1969). The Tucker Act confers upon the Court of Federal Claims jurisdiction to
"renderjudgment upon any claim against the United States founded either upon the
Constitution, or any Act ofCongress or any regulation ofan executive department, or




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upon any express or implied contract with the United States, or for liquidated or
unliquidated damages in cases not sounding in tort." 28 U.S.C. $ la91(a)(1) (2012). But
"[t]he Tucker Act itself does not create a substantive cause of action; in order to come
within the jurisdictional reach and the waiver of the Tucker Act, a plaintiff must identify
a separate source of substantive law that creates the right to money damages." Fisher v.
United States, 402 F .3d 1167 , 1172 (Fed. Cir. 2005) (citation omiued). A plaintiff
seeking reliefunder the Tucker Act must identiS an independent contractual relationship,
constitutional provision, federal statute, or executive agency regulation that provides a
substantive right to money damages. Wagstaff v. United States, 105 Fed. Cl. 99, 108
(2012); see also Todd v. United States, 386 F.3d 1091,1094 (Fed. Cir. 2004)
("[J]urisdiction under the Tucker Act requires the litigant to identifr a substantive right
for money damages against the United States separate from the Tucker Act itself."); Roth
v. United States, 378 F.3d 137 | , 1384 (Fed. Cir. 2004) ("Because the Tucker Act itself
does not provide a substantive cause ofaction . . . a plaintiff must find elsewhere a
money-mandating source upon which to base a suit."); United States v. Testan,424U.S.
392, 400 ( 1976) (stating that "the Tucker Act is merely jurisdictional, and grant of a right
of action must be made with specificity").

         The Court of Federal Claims "may not entertain claims outside this specific
jurisdictional authority." Adarns v. United States , 20 Cl. Ct. 132, 135 ( 1990) (citation
 omitted). "If the court's conclusion is that the source as alleged and pleaded is not
 money-mandating, the court shall so declare, and shall dismiss the cause for lack of
jurisdiction, a Rule l2(b)(1) dismissal-the absence of a money-mandating source being
 fatal to the court's jurisdiction under the Tucker Act." Fisher, 402 F.3d at 1173.

        Subject-matter jurisdiction, which involves a court's power to hear a case, "can
never be forfeited or waived." Arbaueh v. Y & H Corp., 546 U.S. 500, 514 (2006)
(quoting United States v. Cotton, 535 U.S. 625,630 (2002)). Accordingly, the parties, or
the court sua sponte, may challenge the existence of subject-matter jurisdiction at any
tirne. Arbaugh, 546 U.S. at 506. In evaluating subject-matter jurisdiction, "the
allegations stated in the complaint are taken as true and jurisdiction is decided on the face
ofthe pleadings." Folden v. United States ,379 F .3d 1344, 1354 (Fed. Cir. 2004)
(quoting Shearinv. United States,992F.2d 1195, 1195-96 (Fed. Cir. 1993)).

       B.     Pro Se Plaintiffs

       The Court of Federal Claims holds the pleadings of a pfe sg plaintiff to less
stringent standards than those of litigants represented by counsel. Haines v. Kemer,404
U.S. 519, 520 (1972) €ta_Se complaints, "however inartfully pleaded," are held to "less
stringent standards than formal pleadings drafted by lawyers."). Nevertheless, "the
leniency afforded to a p1e_le litigant with respect to mere formalities does not relieve the
burden to meet jurisdictional requirements." Zulueta v. United States, 553 Fed. Appx.
983, 985 (Fed. Cir. 2014) (quoting Kelley v. Sec'y. U.S. Dep't of Labor,8l2F.2d 1378,
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13   80 (Fed.Cir. I 987)); Bemard v. United States, 59 Fed. Cl. 497 , 499 (2004) (noting that
p1q-Sg plaintiffs are not excused from satisfuing jurisdictional requirements). As further
explained in Demes v. United States, "[w]hile a court should be receptive to pplg
plaintiffs and assist them, justice is ill-served when a jurist crosses the line from finder of
fact to advocate ." 52 Fed. Cl. 365, 369 (2002).

II.      Discussion

         Most of plaintiff s complaint rests on his argument that "[t]his Court has
jurisdiction under the Tucker Act, 28 U.S.C. $ 1491 for recovery of illegal exactions.
Also,28 U.S.C. $ 13a6(aXl)." Compl. at 1. Because it has been the tradition of the
 court to examine the record "to see if [a p1q5e] plaintiff has a cause of action somewhere
 dispfayed," Ruderer v. United States,412F.2d 1285,1292 (1969), this court has liberally
 construed plaintiff s bare claim to be either: (l) a traditional tax refund claim pursuant to
 28 U.S.C. $ 13a6(aXl); (2) a traditional tax refund claim pursuant to 28 U.S.C. $ 1491;
 or (3) an illegal exaction claim pursuant to 28 U.S.C. $ 1491. As explained below, the
 court does not have jurisdiction over any of these claims.

         A.       The United States Court of Federal Claims Does Not Have Jurisdiction
                  Over Plaintiff s Tax Refund Claim Under 28 U.S.C. $ 1346(a)(1)

        Plaintiff appears to suggest that section 13a6(a)(l) provides the court with an
independent basis for subject-matter jurisdiction, see Compl. at 1, because it references
the Court of Federal Claims' concurrent jurisdiction to hear tax refund claims. However,
plaintiff is mistaken. Section 13a6(a)( 1 ) confers jurisdiction only on the United States
District Courts:

         (a) The district courts shall have original jurisdiction, concurrent with the
         United States Court of Federal Claims, oi

         (                                      States for the recovery of any intemal-
             l) Any civil action against the United
         revenue tax alleged to have been erroneously or illegally assessed or
         collected, or any penalty claimed to have been collected without authority or
         any sum alleged to have been excessive or in any manner wrongfully
         collected under the internal-revenue laws[.]

28 U.S.C. $ 13a6(a)(1) (emphasis added). As explained in Hinck v. United States,
"[a]lthough this court is mentioned in section 1346(aXl), . . . this is merely a cross-
reference to the Tucker Act and . . . this court's refund jurisdiction derives from the latter
provision." 64 Fed. CL.71,76 (2005), aff d, 446F.3d 1307 (Fed. Cir. 2006) (quoting
Usibelli Coal Mine v. United States, 54 Fed. C|.373,375 n.6 (2002)"; Fry v. United
States, 72 Fed. Cl. 500, 505 (2006); see also Doe v. United States,372 F.3d 1308, l3l2
(Fed. Cir. 2004) (distinguishing the Little Tucker Act, 28 U.S.C. $ 1346, from the Tucker
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Act, 28 U.S.C. $ 1491). Therefore, the court does not have jurisdiction over Plaintiff    s
claims under 28 U.S.C. $ 13a6(aXl).

       B.     The United States Court of Federal Claims Does Not Have Jurisdiction
              Over Plaintiff s Tax Refund Claim Under 28 U.S.C. $ l49l

        A tax refund claimant may bring an action before this court to recover that amount
alleged to have been improperly collected or withheld by the Government. See e.9., City
of Alexandria v. United States ,, 737 F .2d 1022, 1028 (Fed. Cir. 1984); see also 28 U.S.C.
$ 1491(a); New York Life Ins. Co. v. United States, 118 F.3d 1553, 1558 (Fed. Cir. 1997)
(affirming the jurisdiction of the Court of Federal Claims over a suit concerning a federal
tax refund). To maintain such an action, three additional jurisdictional prerequisites must
be satisfied as well. First, the claimant must have made full payment of the tax, penalties,
and interest at issue. Fry, 72 Fed. Cl. at 510; Artuso v. United States, 80 Fed. Cl. 336,
338 (2008). Second, the claimant must have filed an administrative claim for refund with
the IRS for the amount of tax at issue, and third, the claimant must provide to the court
the amount, date, and place ofeach payment to be refunded, as well as a copy ofthe
refund claim. Id.; 26 U.S.C. g 7a22@) ("No suit or proceeding shall be maintained in any
court for the recovery ofany internal revenue tax alleged to have been erroneously or
illegally assessed or collected . . . until a claim for refund or credit has been duly filed
with the Secretary"); RCFC 9(m).

        By requiring the filing of a refund claim with the IRS first, section 7422(a) of the
Intemal Revenue Code creates ajurisdictional prerequisite to filing a refund suit in this
court that "is designed both to prevent surprise and to give adequate notice to the [IRS] of
the nature ofthe claim and the specific facts upon which it is predicated, [and] thereby
permit[] an administrative investigation and determination." Computervision Corp. v.
United States,445 F.3d 1355, 1363 (Fed. Cir.2006) (citations and intemal quotation
marks omitted). Even in pIo_Se cases, a plaintiff s failure to plead that a timely refund
has been filed deprives the Court of Federal Claims ofjurisdiction. Fry, 72 Fed. Cl. at
510; see also Wozniak v. United States, 618 F.2d 119 (Ct. Cl. 1979) (holding that even in
a plq-Se tax suit a timely claim for refund must be filed to invoke the court's jurisdiction).
Plaintiff makes no allegation that he filed an administrative claim for a refund with the
IRS before instituting this action, nor has plaintiff filed the requisite proofsupporting his
refund claim. Plaintiff thus has failed to satisfr the jurisdictional prerequisites of sections
7 422(a) and RCFC 9(m), and to the extent that plaintiff s claim constitutes a tax refund

claim under the Tucker Act, the court lacks jurisdiction to hear it.

       C.     The United States Court of Federal Claims Does Not Have Jurisdiction
              Over Plaintiff s Illegal Exaction Claim

       Plaintiff also argues that "[t]he Intemal Revenue Service violates [the] due process
clause of the Fifth Amendment to the Constitution by charging [him] a $400.00 penalty
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under the Affordable Care Act" and that "the Due Process Clause of the Fifth
Amendment to the United States constitution is money mandating for recovery of illegal
exactions." Compl. at 5, 1 Assuming that Mr. Judd's claim is not a tax refund claim, but
rather an illegal exaction claim, the court still lacks jurisdiction to hear plaintiffs
complaint.

      In Norman v. United States , 429 F .3d 108 1 (Fed. Cir. 2005), the United States
Court of Appeals for the Federal Circuit explained that:

      An illegal exaction, as that term is generally used, involves money that was
      imoroperly paid. exacted. or taken from the claimant in contravention ofthe
      Constitution, a statute, or a regulation . . . An illegal exaction involves a
      deprivation of property without due process of law, in violation of the Due
      Process Clause of the Fifth Amendment to the Constitution. The Court of
      Federal Claims ordinarily lacks jurisdiction over due process claims under
      the Tucker Act, but has been held to have jurisdiction over illegal exaction
      claims when the exaction is based upon an asserted statutory power. To
      invoke Tucker Act jurisdiction over an illegal exaction claim, a claimant
      must demonstrate that the statute or orovision causins the exaction itself
      provides. either expressly or b)' necessary implication. that the remedy for its
      violation entails a return of mone), unlawfully exacted.

Id. at 1095 (emphasis added) (citations and internal quotation marks omitted). Plaintiff,
accordingly, bears the burden of demonstrating that the Affordable Care Act, as "the
statute or provision causing the exaction," itself provides-cither expressly or by
necessary implication-that "the remedy for its violation entails a return of money
unlawfully exacted." See id. Plaintiff has made no such allegation. Therefore, the court
lacks jurisdiction to hear plaintiff s exaction claim.

       D.     Plaintiff Fails to State a Claim Upon Which Relief Can Be Granted

       Finally, the court would be remiss-where plaintiff is proceeding nro se-if it did
not point out that even if this court had jurisdiction to hear plaintiff s illegal exaction
claim, that claim would fail as a matter of law because it rests on the proposition that the
penalty for failure to secure insurance coverage was charged and exacted unlawfully. See
Compl. at 4 ("Congress does not have authority under the Commerce Clause to command
me to purchase [h]ealth [i]nsurance, and therefore cannot charge me a penalty for failure
to comply with the illegal mandate.") As highlighted above in Norman, and explained
succinctly in Starr International Co.. Inc. v. United States, "an illegal exaction claim by
its name suggests an illegal action," 12l Fed. Cl. 428, 472 (2015) (emphasis added),
whereas the penalty at the heart of plaintiff s complaint has been upheld by the United
States Supreme Court to be a lawful exercise ofcongressional taxing power. Indeed,
plaintiff s particular Commerce Clause challenge to the Affordable Care Act's individual
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mandate has been rendered moot by the Supreme Court's decision in National Federation
oflndependent Business v. Sebelius, 132 S. Ct.2566 (2012).In National Federation, the
Supreme Court held that, "[t]he commerce power . . . does not authorize the mandate,"
but that "Congress had the power to impose the exaction in $ 50004 under the taxing
power, and that $ 50004 need not be read to do more than impose a tax. That is
sufficient to sustain it." Id. at 2598. Because plaintiff s complaint is premised upon the
position that a lawful exercise ofcongressional taxing power is an unlawful exaction of
funds, it fails to state a claim upon which relief can be granted. See RCFC 12(b)(6).
Even if this court had jurisdiction over the instant claim, the court would be bound to find
accordingly.

       E.        The United States Court of Federal Claims Does Not Have Jurisdiction
                 Over Plaintiff s Tenth Amendment Claim

       The remainder of plaintiffs arguments are based on the Tenth Amendment.
Plaintiff summarily argues that "under the Tenth Amendment, Congress does not have
authority to regulate [h]ealth [i]nsurance in Texas." Compl. at 5. The Tenth Amendment
provides that:

       The powers not delegated to the United States by the Constitution, nor
       prohibited by it to the States, are reserved to the States respectively, or to the
       people.

U.S. Const. amend. X. "As a matter of law, [n]othing in the language of [the Tenth]
Amendment'can fairly be interpreted as mandating compensation by the Federal
Govemment for the damages sustained."' Frv. 72 Fed. Cl. at 507 (quoting United States
v. Mitchell II, 463 U.S. 206,216 (1983)). Therefore, the court does not have jurisdiction
over plaintiff s Tenth Amendment claims.

m.     Conclusion

       For the foregoing reasons, the court finds that it lacks jurisdiction over plaintiff s
claims. Therefore, the court has no altemative but to sua sponte dismiss plaintiff s case
for lack of subjectmatter jurisdiction. Plaintiff s complaint is DISMISSED without
prejudice.

       IT IS SO ORDERED.



                                                   ATRICIA
                                               ChiefJudge




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